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                                                          CR219-001 3
                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                 ) INFORMATION NO.                rj

                                          )
              V.                          ) 18 U.S.C.§ 13              w
                                          ) Assimilative Crimes        c
 LESLY RICHARD                            )
                                          ) O.C.G.A. § 16-6.8
                                          ) Public Indecency



THE UNITED STATES ATTORNEY CHARGES THAT:

                                    COUNT ONE
                       Assimilative Crimes (Public Indecency)
                          18 U.S.C. § 13, O.C.G.A. § 16-6-8

      On or about November 3,2018,in Wayne County, within the Southern District

of Georgia, the defendant,

                                LESLY RICHARD,

at the Federal Correctional Institution Jesup, which is located on land acquired for

the use ofthe United States and under the concurrentjurisdiction thereof, did commit

the offense of public indecency by lewdly exposing his sexual organs in a public place.

      All in violation of Title 18, United States Code, Section 13 and Official Code of

Georgia Annotated Section 16-6-8.
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